Nams» oaslesa:alri<?ilwa©ovl?ni°f,&t§n“€tjebumenr 3 Filed 05/09/18 Page 1 of 15 Page lD'#:‘eSzi"‘
Richard 0 Evanns Esq SBN 277442
3731 Wilshire Bivd #514

 

 

 

 

 

 

Los Angeles CA 90010
UNITED STATES DIS'I`RICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Vincent L Webb CASE NUMBER
2:17~CV-07540VAP
Piaintiff(s)
v.
APPLICATION FOR APPEARANCE AND EXAMINATION
or EIUDGMENT DEBTOR or ITHIRD PARTY RE=
ENFORCEMENT OF ]UDGMENT
Defcndam($) |:] ATTACHMENT (Third Person)
Vincent L Webb 1 the (Chmm, Um_,) ]udgment Creditor |:]Assignee of Record
(Name) [:|Plaintiff who has a right to attach order

hereby applies for an order requiring Harbor Freight Tools USA Inc, by PMK to appear and furnish information to aid
{Name ofPerson 'l"o Be Examined')
in enforcement of the money judgment or to answer concerning property or debt.

The person to be examined is:
[:j the judgment debtor

a third person Who (1) has possession or control of property belonging to the judgment debtor or the defendant or
(2) owes the judgment debtor or the defendant more than $250.00. An affidavit or declaration Supporting this
application under California Code of Civil Procedure section 491.110 or 708.120 is attached hereto.

a third person who has information concerning the business or financial affairs, assets, and/or transactions of the
judgment debtor or the defendant sufficient to aid in the enforcement of the money judgment or right to attach order
against the judgment debtor or the defendant pursuant to California Code of Civil Procednre sections 491.120 or
708.130. An affidavit is attached hereto that (1) shows that a relationship exists between the judgment debtor or the
defendant and the third party such that the third party can furnish information to aid in the enforcement of the money
judgment or right to attach order and (2) sets forth the categories of information and documents sought

The person to be examined resides or has a place of business in the county or within 150 miles of the place of examination (See
Ca_lifornia Code of Civil Procedure sections 491,150(b), 708.160(b).)

|___] This Court is not the Court in Which the money judgment was entered or (attachment only) the Court that issued the writ of
attachment An affidavit or declaration supporting an application under California Code of Civil Procedure section 491.150
or 708.160 is attached.

E| The judgment debtor has been examined within the past 120 days. An affidavit or declaration showing good cause for
another examination is attached

l declare under penalty of perjury under the laws of the State of Califo ta ica that the foregoing is
true and correct.

Dated: 5/'8/ 18

 

(Signnture ofDeclarant)

R_ichard O Evanns Esq
(Type or Print Name)

A PROPOSED ORDER TO APPEAR FOR EXAMINA TION (CV-4P ORDER) MUST ACCOMPANY THIS APPLICATION

 

 

CV-4P (03¢l l 7) APPL]CATION I-'OR APPEARANCE AND EXAMINATION
(Enforcement of judgment/Attachment)

Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 2 of 15 Page |D #:6513:-025
SHORT TITLE: case sunnen

__ Webb v Changzhou 2:17-CV-075~q0-VAP

 

 

 

 

ATTAcHMENT (Number); 1

(This An‘achment may be used With any Judic."a! Council form.)

ATTACHMENT TO ORAP APPLICATION OF HARBOR FREIGHT TOOLS- AVAILABLE DATES FOR
HEARING

CREDITOR'S COUNSEL l-IEREBY SUBMITS TO THE COURT THAT ANY OF THE Tl-IE FOLLOWING
DATES / TIMES ARE AVAILABLE/DESIREABLE FOR THE DEBTORS EXAMINATION OF HARBOR
FREIGHT TOOLS USA INC, APPLIED FOR HEREIN:

June 26, 27, 28 or 29, in the morning session of Court.
Creditor wishes for the examinations of Harbor Fright Tools and MAXX Group LLC (f`llecl concurrently

herewith) to be held on the same day, with Harbor Freight being in the morning session of the Court, and
Maxx Group being in the afternoon session of the Court (if the Court's calendar pennits)

    

Respectfully

 

 

(!f the item that this Attachment concerns is made under penalty ofper;r'ury, all statements in this Page rz_, of L
Attachment are made under enah‘ of er'u .

p y p j ry) {Add pages as required)
assessments ATTACHME~T mma-ve

Mcozs iRev. duty 1.20091 to Judicial Council Form

 

Case 2:1i7-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 3 of 15 Page |D #:656

Richard O. Evanns, SBN 277442
1 3731 Wnshire sivd., suits 514
Los Angeles, CA 90010

2 T: (213) 292-esse F: (213) 291-4109
3 E: enforcements@rocketmail.com
Attomey for Plaintii`f / Creditor - Vincent L. Webb
4
5
UNITED STATES DISTR_[CT COURT
6
7 CENTRAL DISTRICT OF CA, SPR[NG STREET COURTHOUSE
8 vincent L. Webb, ) case No. 2117-CV-07590-vAP
9 Plaintiff, )
) POINTS AND AUTHORITIES IN SUPPORT
10 VS ) OF APPLlCATION FOR ISSUANCE OF
) DEBTORS EXAMINATION NOTICE 'l`O
11 Changzhou Nanxiashu reel Co., er., a ) HARBOR FRIEGHT TooLs; DECLARATION
foreign corporation, ) OF RICHARD O. EVANNS H\l SUPPORT;
12 Defendani. ) APPLICATIoN FoR 0RDER ro APPEAR;
13 ) PROPOSED ORDER LODGED
CONCURRENTLY HEREWITH
14

 

15 To THE HoNoRABLE cOURT_ AND ALL INTERESTED PARTIES AND THEIR
16 CoUNsEL:

17 Pursuant to Cal. Code of Civ. Proc. Sec. 708.120 and 708.130, Judgment Creditor hereby applies
18 to the herein Court for issuance of a third-party debtors examination notice of HARBOR

19 FREIGHT TOOLS USA, lNC., by an appropriate representative to be appointed by Harbor

20 Freight pursuant to Code of Civil Procedure Section 708.150(a) and (b). This application is based
21 on this memorandum, the attached declaration and exhibits, and all other documents in the record
herein. Pursuant to local ruies, Counsel herein met and conferred With respect to this application

on APRIL 19, 2018. (See Decl. Evanns para. 9)

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5/7/13

) ‘ ` '
25 &Lani/Evanns, Attom¢ey'E)Wj/reditor

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DECLARATION IN SUPPORT OF EXAMINAT|ON OF TH|RD PARTY ; POINTS AND AUTHORITIES
Webb v Changzhou Page l

 

 

 

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POINTS AND AUTl-IOR_ITIES IN SUPPORT OF ISSUANCE OF DEBORS EXAMINATION
_Q_.R”QEB_!

Relevant Facts:

Judgrnent was entered in the Central District in the herein case on 9/7/17. Enforcement began with
levies against intangible payment rights of the debtor, one of which levies was served on the

proposed examinee herein, HARBOR FREIGi-IT TOOLS USA INC. (“HFT”)

This levy attached approximately l month worth of outstanding receivables due from HFT to
DEBTOR, and totaled approximately $580,000.00. (Evanns Decl. para.3 w/exhibit)

Other than the monies which were outstanding at the time of the initial levy, no further monies
have been collected, and Harbor Freight Tools is therefore in effect stating that it is paying no

further monies to Debtor, though it has not explicitly said this.

Creditor has reason to believe that since the enforcement efforts have begun_, that Debtor is doing
business through other entities and/or intermediary companies/alter egos, and Creditor seeks to
examine customers of the Debtor to forward this inquiry, and/or to determine if Debtors customers

are paying Debtor through other means and/or intermediaries to avoid the Creditor’s levies.

Law and Argument:

I. Federa.l Courts appr State Court EOJ Law

Pursuant to Fed. Rule Civ. Proc. 69(a)(1), The Federal Courts apply State Court laws With respect

to enforcement of judgment

 

DECLARATION lN SUPPORT OF- EXAM[NAT]ON OF Tl-IlRD PARTY ; POINTS AND AUTHORITIES
Webb v Changzhou Page 2

 

 

 

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F.R.Civ.P. 69(a)(l) States as follows:

“Money Judgmenl,' Applr'cabfe Procedure. A money judgment is enforced by a writ of
execution unless the court directs otherwise The procedure on execution_and in
proceedings supplementary to and in aid of j udgment or execution_must accord with the
procedure of the state where the court is located, but a federal statute governs to the extent it
applies.

Thcrefore, California State Court Enforcement of .ludgments Law applies to the herein

proceedings

II. Third party mail be examined under State Court EOJ Law

Califomia state Enforcement of Judgments Law has two statutory sections which provide for the

examination of third parties, as follows:

Third party exam under 708.120.

Cal. Code of Civ. Proc. Sec. 708.120 provides for the examination of third parties who, on

information and belief, hold property of the Debtor in excess of $250.00. C.C.P. 708.120(a) states

as follows:
708.120 (a) Upon ex parte application by a judgment creditor who has a money judgment
and proof by the judgment creditor by affidavit or otherwise to the satisfaction of the
proper court that a third person has possession or control of property in which the
judgment debtor has an interest or is indebted to the judgment debtor in an amount
exceeding two hundred fifty dollars ($250), the court shall make an order directing the
third person to appear before the court, or before a referee appointed by the court, at a time
and place specified in the order, to answer concerning such property or debt. The affidavit

in support of the judgment creditor’s application may be based on the affiant’s information
and belief.

ln this case, Creditor has levied almost $600,000.00 from examinee, in monies due to debtor.

Creditor believes Debtor is now doing business through alter egos/intermediaries, and therefore,
Examinee is still paying monies to the Debtor. albeit indirectly Creditor therefore believes HFT
may be examined pursuant to CCP 708.120, as an entity believed to be holding Debtor property

(accounts payable).

Third party exam under 708.]30.

 

DECLARATION IN SUPPORT OF EXAM|NAT!ON OF Ti-llRD PARTY ; POINTS AND AUTHORlTlES
Webb v Changz.hou Page 3

 

 

 

 

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Cal. Code of Civ. Proc Section 708.130 allows a Creditor to Examine (or obtain testimony) any
party believed to have knowledge of debtor finances 708.] 30 states as follows:

708.130 (a) Witnesses may be required to appear and testify before the court or referee in

an examination proceeding under this article in the same manner as upon the trial of an
issue.

The meaning of the above statute has been fairly well settled in a recent case from the CA Courts,

Yolanda's, Inc. v. Kahl & Goveia Commercial Real Estate. ll Cal. App. 5th 509 (2017):

Regarding 708.130, the Yolanda ’s Court states:

“This subdivision allows any person with information leading to the enforcement of the
judgment to be subpoenaed to testify in an examination proceeding in the same manner as a
trial witness.” (Citing Ahart, Cal. Practice Guide: Enforcing Judgments and Debts (The Rutter
Group 2016)1] 6:1280, pp. 6G-2 to 6G-3.)

(Emphasis added) (Yolandas at 514)

Also see 21fit Centurv F in Servs LLC v Manchester Fin. Bank S.D. Cal. 2014 U.S. Dist LEXIS
179228 | WL 7467806 (California Dist. Court upholds subpoena of a third party entity to discover

potential assets of the Debtor entity, 21*" Cemury'a! 8)

Clearly, both the CA State Court as well as the District Court (which applied CA State law in the
above case to uphold a third party subpoena under CCP 708.130 and CCP 187, even prior to the
dispositive Yolanda case) acknowledge that a third party examination can be issued as to a witness
likely to have information to aid in enforcement of ajudgrnent. Therefore, the Court should allow

the Creditor to examine HFT pursuant to the instant application

III. Cal Code of Civ. Proc. 708.150 allows for either Designation of a person to be examined.

or for a “Person most Knowledgeable” Examination

Civ. Proc. §708.] 50 is as follows:

(a) lf a corporation, partnership, association, trust, or other organization is served with an
order to appear for an examination, it shall designate to appear and be examined one or

 

DECLARATION lN SUPPORT OF EXAMINAT]ON OF THIRD PART'Y ; POINTS AND AUTHORlTlES
Webb v Cha.ngzhou Page 4

 

 

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more officers, directors, managing agents, or other persons who are familiar with its
property and debts.

(b) If the order to appear for an examination requires the appearance of a specified
individual, the specified individual shall appear for the examination and may be
accompanied by one or more officers, directors, managing agents, or other persons familiar
with the property and debts of the corporation partnership, association, trust, or other
organization

(c) If the order to appear for the examination does not require the appearance of a
Specified individual, the order shall advise the corporation, partnership, association, trust,
or other organization of its duty to make a designation under subdivision (a).

(d) A corporation, partnership, association, trust, or other organization, whether or not a
party, may appear at an examination through any authorized officer, director, or employee,
whether or not the person is an attorney.

(emp.hasis added)

In the case of the examinee herein, Creditor wishes HFT to designate a person pursuant to
708.150(a).

IV. General Categories of Information/Documents Sought
The Creditor has not fully drafted the subpoena to HFT as of yet1 and more categories of
documents than the below may be subpoenaed I-Iowever the general categories of information
which will be sought are as follows:
-All communications with Debtor entity for the last 12 months, to ascertain if business is being
diverted to other entities
~All communications with owners/officers of debtor entity for the last 12 months, to ascertain if
business is being diverted by them to other entities
-All communications with certain other entities believed to be potential alter egos of Debtor
-All Invoices and bills of lading and payments relating to Debtor entity for the last 12 months
-All invoices bills of lading and payments to any of the suspected alter ego entities for the last 12
months

-Copies of Mariufacturers statements of origin, as well as VIN tags (identifiers of manufacturers of
trailers/vehicles which come with each unit shipped)
-Copies of other documents related to purchase of goods from Debtor entity

-Copies of other documents related to purchase of goods from suspected alter ego entities

 

DECLARATION IN SUPPORT OF EXAM|NAT|ON OF THIRD PARTY ; POINTS AND AUTHORITIES
Webb v Changzhou Page 5

 

 

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-Copies of other documents which may indicate a connection between debtor entity and suspected

alter ego entities

V. CONCLUSION:
Pursuant to CCP 708.120, 708.130 and 708. 150 above, the Court should issue an examination

notice with respect to HFT, by the person most knowledgeable regarding the subject matter of the
debts.

 

Datecl: >'/ )/ f 5 /"§jchard Evanns

 

DECLARAT[ON IN SUPPORT OF EXAMINAT]ON OF THIRD PARTY ; POlNTS AND AUTHORITIES
Webb v Changzhou Page 6

 

 

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DECLARATION OF RlCHARD EVANNS IN SUPPORT OF` ISSUANCE OF THIRD PARTY
EXAMINATION OF l-IARBOR FREIGHT TOOLS

(l) My name is Richard O. Evanns. 1 am an attorney duly licensed to Practice law in all Courts
of the State of California and the Central District. My business address is 3731 Wilshire
Blvd., Suite 514, Los Angeles, CA 90010. I am over the age of 18 and have personal
knowledge of the facts stated herein, and if called to testify to the contents of this
declaration, l could and would competently and truthfully do so.

(2) A money judgment against:

Changzhou Nanxiashu Tool Co., Ltd., a foreign corporation (Hereinafter “DEBTOR"’)
was entered in the above case, on

09/07/2017 in the amount of: 56,399,540.00. The record will show that this judgment has
withstood collateral attack and is in full force and effect.

(3) To date, Approxirnately $580,000.00 has been collected from a series of levies served on
Examinee I-IARBOR FREIGHT TOOLS USA INC, with respect to ongoing payments due
to Debtor. The levied funds represent approximately 30 days worth of outstanding invoices
payable from Examinee to Debtor. Therefore it is clear that Examinee has or at least had a
significant business relationship with the Debtor. Memorandum of Gamishee from Harbor
Freight Tools Levy is attached hereto as Exhibit A.

(4) On declarant’s information and belief, EXAMINEE either has possession or control of
property/assets in which DEBTOR has an interest, or at the very least firsthand knowledge

of the disposition/location of significant property of debtor, as follows:

 

Accounts payable/monies payable l monies due or corning due to Changzhou
Nanxiashu Too| Company Based upon the fact Changzhou supp|ys/supplied
Examinee with trailersl trailer parts1 tools and other productl A|so Examinee may
have knowledge of other entities/alter egos through which Debtor now does business

 

 

 

(5) On declarant’s information and belief, the above-named property/assets are worth in excess
of $250.00, and is eligible for examination under CCP 708.120.
(6) Ori further declaration and belief based upon the above, examinee has knowledge of

Debtor finances, and may be examined as a witness pursuant to CCP 700.130.

 

DECLARATION IN SUPPORT OF EXAMINAT|ON OF THIRD PARTY ; POINTS AND AUTHORITIES
Webb v Changzhou Page 7

 

 

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(7) No further monies have been remitted to creditor pursuant to the levies herein, or the recent
assignment order, and it is believed that business between Examinee and Debtor may be
being conducted through alter egos/intermediaries ot` Debtor, in an attempt to avoid the
judgment herein. Creditor does not believe that business between Debtor and Examinee
has simply gone from 3600,000.00 a month to $0.00.

(8) The EXAMINEE is headquartered in Los Angeles County, in the Central District
(Woodland Hills) which is less than 150 miles from the court of appropriate jurisdiction A
copy of the Secretary of State documents showing the headquarters of Harbor Freight at
26541 Agoura Road, in Calabasas CA is attached hereto as Exhibit B.

(9) On Thursday April 19, 2018 undersigned counsel met and conferred with opposing counsel
John Gordon and Paul Marks regarding the instant application, and no agreement which

Would alleviate the need for the instant application could be reached.

I hereby declare under penalty of perjury of the laws of the State of California that the foregoing is

true and correct.

DATE: Apri| 27, 2018 /_\
/
Richard O. vanns
Attorney for Plaintiff / Creditor ~ Vincent L. Webb

 

DECLARAT[ON IN SUPPORT OF EXAMINATION OF TH|RD PARTY ; POINTS AND AUTHOR]TIES
Webb v Changzhou Page 8

 

Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 11 of 15 Page |D #:664

Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 12 of 15 Page |D #:665

 

 

 

 

(Amchmont»-Enforcoment of Judgment)

 

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3731 Wilsb.ire Blvd #514
Los Aogeles CA 90010
memoirs nos 213-292-6888 m ,m_.
own moses enforcements@rockeunail.cam
A'rroFtNEY FoR rNaan: Vincent Webb
BUPERIOR CDURT QF CAL|FORN|A. COUNTY OF LOS Angeles
SW\EE" ADD“ESS= 350 West lst St
MA|L|NG ADDFESB: game
covmou= cone Los Angoles CA 90012
meantime Cenu‘al District
PtAiNriFFiPE'ririouEa: vincent L webb '-EW'"@ °FF‘°E“ F"-F- ~°'=
DEFENDANT:RESPCNDENT: Changzhou Nanx‘iashu Tool Co.. LTD a foreign Corp
MEMOHANDUM DF GARNISHEE coun'r cAsE uo_¢
2117-cv~07590-VAP

 

Thls memorandum does not applyl

 

 

to garnishment of eamlnge.

 

 

NOTICE TO PBRSQN SERVED WTTH WRIT AND NOT|GE GF LE\N OR NOTl»GE ClF
AWA¢HMENT: Thlo memorandum must he completed and mailed or delivered to the
lovylng oflloor within 10 days after service on you of the wrlt and notlee of levy
ormahmont unless you have fully oompllod with the levy. Falturo to complete and
loo.im thlo memorandum moy render you liable fortho costs and attorney fees incur-

red tn obtaining the roqulmd information
- RETURN ALL COPES OF THIS MEMORANDUM TD THE LEVY|NG OFFICER --

 

 

 

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1.a. Gamisheez%i§zrle)!§lg'lgluir:aorkl:jrelgh ocs lnc

A°°"°“l cnabssas cA 91302
2. Judgmerit Credttor (nsme):Vincem L Webb

 

3. 1 l {Check lfapplicablo.) The garnishee holds neither any property nor any obligations in favor of the judgment debtor.

4. lf you will not deliver to the levying othoer any property levied upon. describe the property and the reason for not delivering it:

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5. For writ al execution only. Describe any progeny ot the judgment debtor not levied upon that is in your possessior'i_'oar under your
control: ¢= "'
$18 9 , 962 . 4 1 iri payments currently due. Thi s amount is enclc§ed" with
this memorandum and made payable to the U . S . Marsl'ial `.r\h;` § ._
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MEMORANDUM OF GARN\SHEE _ 5°\'|° CW- Pm. §§dBS.oto.
(Attachmont-Entorcemenl of Judgment) 701-030

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Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 13 of 15 Page |D #:666

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SHORT TlTLE‘. LEW:NG oFFicsR nu=. No.: ones timeca-
2: l7»cv-07590-VAP

 

 

 

 

 

 

6. lfyou owe money to the judgment debtor whloh you will nol pay to the levying oflioei', describe the amount and the terms of the
obligation and the mason for not paying it to the levy|ng officer

NOI‘].€ .

7. Describe the amount and terms of any obligation owed to the judgment debtor that is levied upon but is not yet due and payable:

Additional payments coming due ass follows:
$233,48'7.36 due after 1/6/18
$149,960.94 due after 1/13/18

B. For writ of execution only. Deecr|be the amount and terms of any obligation owed to the judgment debtor that is not levied upon:

See Reaponae to Queetion Number 5.

9. Describe any claims and rights of other persons to the property or obligation levied upon mat are known to you end the names
end addresses of the other persons:

Unknown

DECLARAT|ON OF GARNISHEE
l
l declare under penalty di perjury under the laws of the State of Califomia the foregoing is true and correct.
Date:

 

Marc: Fri adman ,

\' i " ~"
fTVFE ORPRINT N\\\HE:I " {S\'GNATURE}

 

 

 

l'lyou need more space to provide the lnfonnetlon required by this memorandum you may attach additional pagee.
[:l 'l'otel number of pages attached:

 

 

 

 

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(Attachrnent-Enforoement of Judgrnenl)

 

Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 14 of 15 Page |D #:667

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Case 2:17-cv-O7590-VAP-AGR Document 43 Filed 05/09/18 Page 15 of 15 Page |D #:668

 

 

 

 

F
State of Ca|tfornla
Secretary of State
Statement of information FN29924
(Foreign Corporation)
FEES (Filing and Disclosure): $25.00. FlLED
lf this is an amendment, see instructions in the office of the Secretary of State
lMPORTANT - READ lNSTRUCT|ONS BEFORE COMPLETING THlS FORM of the State of Califomia

 

‘l. CORPORATE NAME

HARBOR FRE:GHT TOOLS usA. |Nc. JUN'14 2017

 

2. CAL|FORNIA CORPORATE NUMBER C21 1 1204

 

This Space for Fi|ing Use Only

 

No Change Statement (Not applicable if agent address of record is a P.O. Box address See instructions.)

 

3_ lf there have been any changes to the information contained in the last Statement of lnformation filed with the California Secretary
of State, or no statement of lnformation has been previously filed, this form must be completed in its entirety.
if there has been no change in any of the information contained in the last Statement of information hied with the Ca|ifornia Secretary
of State. check the box and proceed to item 13.

 

Complete Addresses for the Fo|lowing (Do not aboreviate the name of the city. lterns 4 and 5 cannot be P.O. Boxes.}

 

 

 

4. sTREET AooREss oF PRlNclPAL ExEcuTlvE oFFlCE clTY sTATE zlP cope
26541 AGOURA ROAD, CALABASAS, CA 91302
5. sTREET ADDREss oF PRlNclPAL euslNEss oFFlcE lN oALlFoRN:A. lF ANY clTY sTATE zip cone
26541 AGOURA ROAD, CALABASAS, CA 91302
6. MA|L|NG AoDREss oF THE coRPoRATloN. lF olFFERENT THAN lTEM 4 cn'Y sTATE zlP cooE

 

Names and Complete Addresses of the Fo||owing Officers (The corporation must list these three omcers. A comparable title for the specific
officer may be added; however. the preprinted titles on this form must not be altered.)

 

 

 

r. cHtEF execu'rlvs oi=l=lcse/ Aool=zess c\r~r srATE z\P cope
MARC M FR|EDN|AN 26541 AGOURA ROAD, CALABASAS, CA 91302

a. sEcRETARY AooF-:Ess chY sTATt-: zlP cooE
TOMAS P KOKKO 26541 AGOURA ROAD, CALABASAS, CA 91302

9. cHlEF FlNANciAL oFFloERt AooREss cer sTATE zlP cooE

ER|C L SN|\DT 26541 AGOURA ROAD. CALABASAS. CA 91302

 

Agent for Servlce of Process lf the agent is an individua|. the agent must reside in Ca|ifornia and ltem 11 must be completed with a California street
address, a P.O. Box address is not acceptable lf the agent is another corporation, the agent must have on file with the Ca|ifomia Secretary of State a
certificate pursuant to Ca|ifornia Corporetions Code section 1505 and ltem 11 must be left blank.

 

tu. NAME oF AoENT FoR sEvacE oF PRocEss
CORPORATE CREATIONS NETWORK |NC.

 

11. STREET ADDRESS OF AGENT FOR SERV|CE OF PROCESS |N CALlFORN|A‘ lF AN lND|VlDUAL C|TY STATE ZiP CODE

 

Typa of Business

 

12. DESCR|BE THE TYPE OF BUS|NESS OF THE CORPORATION

 

 

RETA|L
13. THE 1NFoRMATloN coNTAlNEo HERE|N is TRuE ANo coRREcT_
06/14/2017 KAREN MONTANO SPEC|AL SECRETARY
oan TYPE.'PRINT NAME oF PERsoN coMPLETlNo FORM TlTLE slGNATuFtE

 

 

Sl-35'D (REV 01!2013) AF‘PROVED BY SECRETARY OF STATE

 

 

